                  EXHIBIT 4




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                                                                 SEPTEMBER 06, 2023



                       Statement from President Joe Biden on
                    Protecting Arctic Lands and Wildlife in Alaska


                  Alaska is home to many of America’s most breathtaking natural wonders and
                  culturally significant areas. As the climate crisis warms the Arctic more than
                  twice as fast as the rest of the world, we have a responsibility to protect this
                  treasured region for all ages. Canceling all remaining oil and gas leases issued
                  under the previous administration in the Arctic Refuge and protecting more
                  than 13 million acres in the Western Arctic will help preserve our Arctic
                  lands and wildlife, while honoring the culture, history, and enduring wisdom
                  of Alaska Natives who have lived on these lands since time immemorial.
                  From day one, I have delivered on the most ambitious climate and
                  conservation agenda in our country’s history. But there is more to do, and my
                  administration will continue to take bold action to meet the urgency of the
                  climate crisis and to protect our lands and waters for generations to come.

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https://www.whitehouse.gov/briefing-room/statements-releases/2023/09/06/statement-from-president-joe-biden-on-protecting-arctic-lands-and-wildlife-i…   1/1
